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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


Francis Pierre,                         :
                                        :
                   Plaintiff,           :
          v.                            :           Civil Action No. 16-0683-CKK
                                        :
Winn Managed                            :
Properties, LLC et al.,                 :
                                        :
                   Defendants.          :



                                              ORDER

          For the reasons stated in the accompanying Memorandum Opinion, it is

          ORDERED that Defendant HUD’s Motion to Dismiss [Dkt. 7] is GRANTED; it is

further

          ORDERED that the Property Management Defendants’ Motion to Dismiss for Failure to

State a Claim for Which Relief Can be Granted [Dkt. 8] is GRANTED; and it is further

          ORDERED that the complaint is DISMISSED without prejudice, and this case is closed.

          This is a final appealable Order.



                                              __________s/s__________________
                                              COLLEEN KOLLAR-KOTELLY
                                              United States District Judge
DATED: December 14, 2016
